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                     UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF IDAHO
 UNITED STATES OF AMERICA,
                                             Case No. 2:16-cr-00099-BLW

        Plaintiff,                           MEMORANDUM DECISION
                                             AND ORDER
         v.

 KODY RAY GIBBS,

        Defendant.


                               INTRODUCTION

      Before the Court is Defendant Kody Ray Gibbs’ Motion for Compassionate

Release Pursuant to 18 U.S.C. § 3582 (Dkt. 45), the United States’ Motion to

Dismiss Pro Se Motion for Compassionate Release (Dkt. 48), Defendant’s Motion

for Extension of Time to File Reply (Dkt. 50), and Defendants Motion for the

Court to Subpoena Medical Records (Dkt. 51). For the reasons that follow the

Court will grant the Government’s motion to dismiss the motion for compassionate

release and deny the Defendant’s motion for compassionate release without

prejudice. The remaining motions are denied as moot.

                                BACKGROUND
      Gibbs pled guilty to possession of sexually explicit images of minors, in

violation of 18 U.S.C. § 2252(a)(4)(B). In November 2016, Defendant was


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sentenced to 78 months in prison, to be followed by 15 years of supervised release.

      Defendant claims that compassionate release is warranted in this case

because he is not receiving adequate medical care while incarcerated. He claims

that he submitted a request for compassionate release with the warden of several

facilities. However, the Bureau of Prisons has no record of any compassionate

release requests made by the Defendant. (Dkt. 48 at 2)

                                    ANALYSIS

      Gibbs seeks compassionate release under 18 U.S.C. 3582(c)(1)(A). To grant

compassionate release, a district court must, as a threshold matter, determine

whether a defendant has exhausted his or her administrative remedies. Id. If the

exhaustion requirement is met, the court must consider the 18 U.S.C. § 3553(a)

factors. Id. Then the Court may grant compassionate release only if the defendant

shows that “extraordinary and compelling reasons warrant such a reduction.” Id.;

United States v. Aruda, 993 F.3d 797, 801 (9th Cir. 2021). See also United States

v. Rodriguez, 424 F. Supp. 3d 674, 680 (N.D. Cal. 2019). The defendant bears the

burden of establishing that extraordinary and compelling reasons exist to justify

compassionate release. See United States v. Greenhut, 2020 WL 509385, at *1

(C.D. Cal. Jan. 31, 2020) (citing United States v. Sprague, 135 F.3d 1301, 1306-07

(9th Cir. 1998)).




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      However, Gibbs has not exhausted his administrative remedies as required

by § 3582(c)(1)(A). This is a bar to his motion. Accordingly, the Court will grant

the Government’s motion to dismiss and deny Gibb’s motion for compassionate

release without prejudice. Gibbs may refile a motion after fully exhausting the

Bureau of Prison’s administrative appeals process.

                                      ORDER

      IT IS ORDERED that:

      1.       Defendant’s Motion for Compassionate Release Pursuant to 18 U.S.C.

§ 3582 (Dkt. 45) is DENIED without prejudice.

      2.       The United States’ Motion to Dismiss Pro Se Motion for

Compassionate Release (Dkt. 48) is GRANTED.

      3.       Defendant’s Motion for Extension of Time to File Reply (Dkt. 50) is

MOOT.

      4.       Defendants Motion for the Court to Subpoena Medical Records (Dkt.

51) is MOOT.

                                              DATED: December 3, 2021


                                              _________________________
                                              B. Lynn Winmill
                                              U.S. District Court Judge




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